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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE


   FUSION ELITE ALL STARS, et al.,

                Plaintiffs,
         v.
                                                Civ. Action No. 2:20-cv-02600
   VARSITY BRANDS, LLC, et al.,

                Defendants.




   JESSICA JONES, et al.,

                Plaintiffs,
         v.
                                                Civ. Action No. 2:20-cv-02892
   BAIN CAPITAL PRIVATE EQUITY, et al.

                Defendants.




   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC., et al.,

                Plaintiffs,
         v.                                     Civ. Action No. 2:20-cv-02782

   VARSITY BRANDS, LLC, et al.,

                Defendants.


      DEFENDANTS’ RESPONSE TO PLAINTIFFS’ JOINT MOTION TO MODIFY
                         SCHEDULING ORDERS
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         Defendants hereby respond to Plaintiffs’ Joint Motion to Modify Scheduling Orders. For

  the reasons stated below, Plaintiffs’ motion should be denied.


                                            ARGUMENT

         Plaintiffs seek to modify the scheduling orders in the three cases, each of which the Court

  entered with all parties’ consent. Plaintiffs fail, however, to demonstrate “good cause” to do so,

  which is required under Rule 16(b)(4) of the Federal Rules of Civil Procedure. Fed. R. Civ. P.

  16(b)(4) (“A schedule may be modified only for good cause and with the judge's consent.”); see

  also Mayhue v. Cherry Street Servs., Inc., 598 F. App’x 392, 399-400 (6th Cir. 2015) (affirming

  denial of plaintiff’s request to extend the discovery period because plaintiff failed to show good

  cause for the extension). Indeed, in the agreed orders, the Court emphasized that “[a]bsent good

  cause shown, the deadlines set by this order will not be modified or extended.” (Fusion Elite

  ECF No. 61; American Spirit ECF No. 100; Jones ECF No. 61.)

         Plaintiffs seek to extend all deadlines, including a deadline that has already passed,1

  largely based on assertions that they desire to take more discovery. But, contrary to Plaintiffs’

  assertions, discovery in this case can be completed in the time provided in the scheduling orders

  and the other dates do not need to be relaxed. Plaintiffs may want more time—as lawyers almost



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    Among the deadlines Plaintiffs want to extend are the deadlines to seek leave to amend the
  pleadings or to add parties, which currently was November 19, 2021. Plaintiffs filed the instant
  motion the night before, continuing a pattern of requesting extension the day of the deadline or in
  this instance the night before. Although joining in the request for extension, Plaintiffs in
  American Spirit filed a motion to amend their Complaint in compliance with the deadline.
  Plaintiffs provide no particular basis for this extension other than to argue that these deadlines
  are “largely dependent on having sufficient discovery to uncover facts and make determinations
  on the liability of additional parties.” (Pls.’ Mem. at 14-15.) But Plaintiffs have received
  significant discovery from Defendants and cannot show good cause to extend this deadline
  merely by speculating that something in the additional depositions they may take if given more
  time will somehow provide a basis for such amendments that was not apparent on the original
  deadline.

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  invariably do—but to the extent they find themselves under timing pressure, it is only because

  they wasted many months before pressing forward with discovery as they should have from the

  beginning. This does not support a change to the schedule. Indeed, “[t]he primary measure of

  Rule 16’s ‘good cause’ standard is the moving party’s diligence in attempting to meet the case

  management order’s requirements.” Lightbody v. Kellogg USA, Inc., No. 10-cv-02772, 2012 WL

  13065400, at *1 (W.D. Tenn. Aug. 3, 2012) (quoting Inge v. Rock Fin. Corp., 281 F.3d 613, 625

  (6th Cir. 2002)). In other words, a party may not use issues created by its own dilatory conduct

  to justify a scheduling extension, which is exactly what Plaintiffs improperly seek to do.

           Plaintiffs complain that the “original period for completion of discovery, ranging from 16

  months in Fusion Elite to just 10 months in Jones, is fairly compressed, particularly when

  compared to other antitrust cases or class actions involving similar complex disputes.” (Pls.’

  Mem at 13.) But Plaintiffs fail to mention that this Court rejected the Fusion Elite parties’

  original proposed schedule, which is almost identical to the schedule that Plaintiffs now again

  ask the Court to impose. The fact that the Court already rejected the proposed schedule weighs

  further against Plaintiffs’ motion.

    I.     Plaintiffs Failed to Pursue Discovery in a Timely Fashion

           Despite Plaintiffs’ assertions that they have made “good faith and diligent efforts to

  pursue and obtain discovery from defendants and non-parties,” Pls.’ Mem. at 3, the “outstanding”

  discovery about which Plaintiffs complain is only outstanding because of their own inaction.

  Time pressure caused by a party’s own inaction is not “good cause” to modify a scheduling

  order.

              A. Fusion Elite

           The Fusion Elite Plaintiffs argue that “ongoing negotiations significantly shifted

  production deadlines, which Fusion Plaintiffs had counted on in negotiating the deadlines

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  adopted by the Court in the Fusion Elite Scheduling Order—for amendment of pleadings, the

  close of fact discovery, expert reports and briefings.” (Pls.’ Mem. at 6.) But that leaves out the

  crucial fact that all of the “deadlines” for the production of data or documents were “subject to

  any unresolved objections of the producing Party.” (Fusion Elite ECF No. 61 at 2.) Plaintiffs

  issued more than one hundred vague, vastly overbroad, and in many instances incomprehensible

  document requests to Varsity. As to the unobjected-to portions of those requests, Varsity met the

  pertinent deadlines. Varsity also spent many hours over several months discussing the remainder

  of Plaintiffs’ requests with Plaintiffs, which ultimately culminated in a resolution on June 22,

  2021. (Kaiser Decl. ¶ 2.) As Plaintiffs concede, the additional documents produced subject to

  that agreement were produced months ago.

         The original schedule set out a process for resolving objections, which set a deadline to

  bring those disputes to the Court. Although Plaintiffs were well aware of the February 18, 2022

  discovery cutoff, they repeatedly asked Defendants to agree to extensions to that deadline so as

  to continue discussions, which, from Varsity’s perspective, Plaintiffs were conducting in an

  inefficient and meandering manner.2 (Kaiser Decl. ¶ 3.) The Court was assured that “all other

  deadlines set forth by the Court will remain the same.” (Fusion Elite ECF No. 100.)

         In any event, as Plaintiffs concede, Varsity produced a substantial majority of its

  documents by June 2021. (Kaiser Decl. ¶ 4.) Plaintiffs waited two more months to start

  requesting dates for depositions and even then only requested three depositions. Varsity

  promptly provided a date for the one current employee that Plaintiffs sought, only to have that




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   Ultimately, after months of discussion, Plaintiffs abandoned virtually all of their demands.
  (Kaiser Decl. ¶ 3.) Had Plaintiffs moved with alacrity, negotiations would have been concluded
  months earlier.

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  date rejected. (Kaiser Decl. ¶ 5.) Plaintiffs finally got around to taking their first deposition on

  November 16 and 17. (Id.)

         As to USASF, the Fusion Elite Plaintiffs contend that “significant document productions

  are outstanding.” (Pls.’ Mem. at 7.) But Plaintiffs waited until August 9, 2021—nearly six

  weeks after Magistrate Judge Claxton’s order instructing Plaintiffs to refine their search

  parameters and almost ten months after discovery began in Fusion Elite—to provide USASF

  with a search term proposal, which Plaintiffs identified as “the same search terms proposed by

  Plaintiffs . . . on May 27, 2021,” contrary to Magistrate Judge Claxton’s order. (Berkowitz Decl.

  ¶ 3.) Nevertheless, pursuant to Magistrate Judge Claxton’s guidance at the hearing, USASF

  endeavored to respond to Plaintiffs’ proposal by refining the custodians, search terms, and time

  frames relevant to each area of inquiry identified by Plaintiffs and provided a response two

  weeks later on August 23, 2021. (Berkowitz Decl. ¶ 4.)

         After receiving USASF’s response, Plaintiffs took another four weeks to respond,

  providing a proposal on September 22, and USASF ran numerous variations of searches in an

  effort to further refine Plaintiffs’ proposed search parameters to target only those documents

  which were actually relevant to this case. (Berkowitz Decl. ¶¶ 5-6.) Each search report involved

  multiple days of processing and analysis, and USASF provided a response on October 19.

  (Berkowitz Decl. ¶ 6.) Although Plaintiffs had no such technological limitations to explain their

  delays, Plaintiffs took yet another four weeks to respond to USASF’s October 19 proposal,

  providing their next ESI proposal on November 20. (Berkowitz Decl. ¶ 7.) USASF is in the

  process of running additional search reports to identify any remaining areas of dispute, but the

  parties are in agreement on many of the areas of inquiry. (Berkowitz Decl. ¶ 8.) Accordingly,

  while USASF does not dispute that a significant portion of its document production is currently



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  outstanding, once again this is due to Plaintiffs’ repeated delays in providing search term

  proposals to USASF. (Berkowitz Decl. ¶ 9.)

         Despite Plaintiffs’ lengthy delays, USASF anticipates being able to substantially

  complete production sufficiently in advance of the fact discovery deadline, such that Plaintiffs

  can depose USASF witnesses before the current deadline. (Id.) Plaintiffs, however, have not yet

  requested any depositions from USASF, provided USASF with any Rule 30(b)(6) topics, or even

  identified which or how many USASF witnesses they intend to depose. (Berkowitz Decl. ¶ 10.)

  Plaintiffs also waited ten months—until October 1, 2021—to raise any issues with USASF’s

  response to Plaintiffs’ first set of interrogatories, served by USASF on December 28, 2020.

  (Berkowitz Decl. ¶ 11.) USASF sent Plaintiffs a proposal for supplementation on November 2,

  2021, but Plaintiffs have yet to respond. (Id.)

         As to third-party discovery, the Fusion Elite Plaintiffs state that they have served 27

  subpoenas on non-parties “between November 2, 2020 and the present” and 16 subpoenas

  remain outstanding, including from Rebel and Nfinity. (Pls.’ Mem. at 7.) But the Fusion Elite

  Plaintiffs failed to serve a number of these subpoenas promptly. For example, the Fusion Elite

  Plaintiffs served a subpoena on PricewaterhouseCoopers LLP on September 29, 2021 and on

  Rubenstein Public Relations, Inc. and Quinnipiac University on October 27, 2021, more than a

  year after discovery began in the Fusion Elite matter. (Kaiser Decl. ¶ 6.) The Fusion Elite

  Plaintiffs cannot now point to these outstanding subpoenas as cause for a modification of the

  scheduling order when they chose to issue the subpoenas well into the discovery period, knowing

  full well that discovery was set to close on February 18, 2022.

             B. Jones

         The Jones Plaintiffs complain that Defendants have made “meager” productions of

  documents. Pls.’ Mem. at 8. But, despite having agreed to the February 18, 2022 discovery

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  cutoff and the other deadlines and despite assuring the Court during the January 6, 2021

  scheduling conference that they would “get going on the discovery … right away,” American

  Spirit ECF No. 101 at 30:6-7, the Jones Plaintiffs waited nearly three months to even serve

  document requests on any of Defendants, first serving discovery on all Defendants except Jeff

  Webb on March 26, 2021 and then on Jeff Webb on April 8, 2021. (Jones ECF No. 82.)

  Defendants timely served responses to these discovery requests. (See id.) Many more weeks

  passed until Plaintiffs asked to meet and confer on those responses.

         Like the Fusion Elite Plaintiffs, the Jones Plaintiffs repeatedly asked for extensions to the

  deadline to bring document disputes to the Court. (Kaiser Decl. ¶ 9.) Ultimately, at the Jones

  Plaintiffs’ request, the parties twice moved the Court to extend that deadline, first to July 30,

  2021 and then to September 17, 2021. (Jones ECF No. 82; Jones ECF No. 93.) As in Fusion

  Elite, the Court was assured that if it granted these extensions, “all other deadlines set by the

  Court will remain the same.” (Id.)

         As in Fusion Elite, the Jones Plaintiffs did not pursue negotiations with any urgency.

  (Kaiser Decl. ¶ 8.) Instead, many weeks went by between discussions and, even worse, Plaintiffs

  repeatedly changed positions as to what custodians and requests were even at issue. Ultimately,

  the Jones Plaintiffs filed motions to compel on September 18, 2021, one day after the deadline

  that they had already extended twice. (See Jones ECF No. 100-04.) The Court permitted the late

  filing by the Jones Plaintiffs but admonished Plaintiffs that the Court would “not accept any

  other late requests for extensions from Plaintiffs, even by ‘just’ 24 hours.” (Jones ECF 106 at 2.)




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  As to Varsity, the parties have resolved their disputes and the Jones Plaintiffs have withdrawn

  their motion to compel. (Jones ECF No. 166.)

         The Jones Plaintiffs likewise waited until September 18 to move to compel as to

  Charlesbank and Bain even though the position they have brought to the Court through those

  motions—apparently seeking the production of every document about Varsity from seventeen

  custodians and numerous other sources, as unreasonable and improper under the Federal Rules as

  that would be—has remained nearly unchanged from the beginning.3 (Kaiser Decl. ¶ 9.) Given

  the Jones Plaintiffs’ unwillingness to limit their requests in any way, the Jones Plaintiffs should

  have brought their motions months earlier and, had they done so, they would have been resolved

  months ago. Further undermining their argument that an extension to the discovery period is

  warranted, in the meantime the Court dismissed Charlesbank and Bain from the American Spirit

  case and the same outcome seems likely here given the paucity and inadequacy of the allegations

  against them. And Charlesbank and Bain produced documents in response to the subpoena

  issued to them in Fusion Elite, which have been produced to the Jones Plaintiffs. (Kaiser Decl. ¶

  7.)

         As to Defendant Webb, the Jones Plaintiffs overstate the extent of outstanding discovery

  issues. Contrary to their assertions, the relevant time period for production was resolved during

  the October 28, 2021 hearing on Plaintiffs’ motion to compel, during which Magistrate Judge




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   For example, Plaintiffs’ letter of July 6, 2021 demanded production from the files of nineteen
  Charlesbank and Bain custodians; two and a half months later, Plaintiffs moved to compel
  production from seventeen custodians, including all of the Charlesbank custodians listed in their
  July 6 letter along with an additional custodian identified by the Jones Plaintiffs on August 6.
  Bain and Charlesbank have been equally (and consistently) clear that they would not agree to
  such massive ESI discovery, particularly in light of the paucity of allegations against them as
  owners of Varsity from late 2014 to mid-2018 (for Charlesbank) and from mid-2018 (for Bain).
  (Kaiser Decl. ¶ 9.)

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  Claxton held that the applicable time period should be January 1, 2015 to December 1, 2021.

  (Gaffney Decl. ¶ 4.) Mr. Webb substantially completed production of documents for the time

  period of January 1, 2015 to December 10, 2020 by the deadline in the Court’s Scheduling

  Order. (See Jones ECF No. 110-1 at ¶ 6.) This limits Mr. Webb’s outstanding discovery

  obligations to a small number of text messages for the relevant time period, and documents from

  December 10, 2020 to December 1, 2021, the volume of which will be minimal, particularly

  insofar as Mr. Webb left his employment at Varsity at the end of 2020. (Gaffney Decl. ¶¶ 5-6.)

         As to third parties, the Jones Plaintiffs’ argument that the schedule should be extended

  because they have served forty subpoenas on gyms to date, and expect to serve a total of seventy

  subpoenas to gyms, “seeking data related to the pass on of the alleged illegal overcharges from

  gyms to athletes (and their parents),” Pls.’ Mem. at 9, does not withstand scrutiny. The Jones

  Plaintiffs did not start serving gyms with subpoenas until October 18, 2021, more than nine

  months after the scheduling conference at which they promised the Court they would be

  proceeding with discovery forthwith. (Kaiser Decl. ¶ 10.) They try to excuse their delay by

  arguing that they needed Varsity’s transaction data to determine who to subpoena, but even

  taking that curious argument at face value, that data was produced several months before they

  served their first subpoena. Their further excuse that “most of these organizations are unfamiliar

  with the subpoena process” and “need time and outreach to comply with a subpoena,” Pls.’ Mem.

  at 15, is neither here nor there; this is something that the Jones Plaintiffs should have anticipated.

  Moreover, any party—whether familiar with the subpoena process or not—would balk at

  providing information of the scope demanded by the Jones Plaintiffs’ subpoenas, which on their

  face are plainly overbroad, unduly burdensome, and improper under Rule 45(d)(1). As to

  schools, the Jones Plaintiffs delayed identifying whether Varsity’s scholastic transactional data



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  was data that they wanted, instead repeatedly saying that they were considering whether the data

  they had received to date was sufficient for their purposes. Once the Jones Plaintiffs finally

  explained that they wanted this particular data, the issue was resolved. Again, Defendants should

  not bear the cost of Plaintiffs’ dilatory behavior.

          The Jones Plaintiffs’ final plea that they “will need to serve a second set of requests for

  production to address issues that may arise when Plaintiffs have an opportunity to review

  documents or as follow ups to depositions,” Pls.’ Mem. at 9, is risible. The scheduling order

  does not permit a second bite at the apple and, in any event, such a second round of written

  discovery after depositions would require discovery to be extended indefinitely.

              C. American Spirit

          For their part, the American Spirit Plaintiffs provide no basis at all, much less good cause,

  for the extension they seek. Instead, they raise two irrelevant issues. First, they incorrectly state

  that there was “difficulty gaining compliance with Rule 26(f).” (Pls.’ Mem. at 10.) This

  apparently refers to a dispute the parties had while the case was pending in the Northern District

  of Georgia over fourteen months ago. Plaintiffs fail to inform the Court that they moved the

  Northern District of Georgia for an order compelling a Rule 26(f) conference, and the Court

  instead granted Defendants’ motion to stay and then, shortly thereafter, granted Defendants’

  motion to transfer the case to this Court. (See Plaintiffs’ Motion to Compel, American Spirit and

  Cheer Essentials, Inc. v. Varsity Brands, LLC, No. 20-cv-03088 (Sept. 22, 2020), ECF No. 46;

  see also Order Granting Joint Motion to Transfer Action to the Western District of Tennessee,

  American Spirit and Cheer Essentials, Inc. v. Varsity Brands, LLC, No. 20-cv-03088 (Oct. 27,

  2020), ECF No. 56.)

          In any event, the Court need not concern itself with this distraction—the case has been

  pending in this Court since October 2020, the parties conducted their Rule 26(f) conference in

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  November 2020, and discovery opened in December 2020. Obviously, none of this justifies

  extending the discovery and other deadlines in this matter—deadlines that the American Spirit

  Plaintiffs agreed to even after the supposed “difficulty gaining compliance with Rule 26(f).”

  Similarly, Plaintiffs airily assert that some of the pleadings in the Fusion Elite and Jones actions

  have not been docketed in the American Spirit action. They provide no reason why this would

  provide cause for the changes to the scheduling order that they seek. (And, in any event, all of

  the pleadings in all of the cases are publicly available or accessible under the Court’s Order

  Allowing Sharing of Discovery Material.)

            The only assertion the American Spirit Plaintiffs make that is actually related to

  discovery is their acknowledgment that discovery into their non-cheerleading claims has been

  stayed pending Defendants’ motions to dismiss, an order of the magistrate judge that they chose

  not to appeal. But that is hardly a reason to modify the scheduling orders across all of the

  actions, especially since the motions to dismiss the non-cheerleading claims may be (and

  certainly should be) granted. In any event, discovery into the non-cheerleading aspects of the

  American Spirit case will need to be addressed separately should they survive the motions to

  dismiss.4

      II.   Given Plaintiffs’ Dilatory Tactics, Good Cause Does Not Exist to Modify the
            Scheduling Orders

            Having failed to pursue discovery with the appropriate urgency given the agreed and

  Court-ordered discovery deadline, Plaintiffs now say they have much to do and not enough time


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    Similarly, the Fusion Elite Plaintiffs argue that they “have not received any discovery related to
  the sexual misconduct allegations that are subject to Varsity and USASF’s pending motion to
  strike,” Pls.’ Mem. at 12, which is to say the parties agreed not to pursue such discovery while
  the motion to strike was pending. But like the non-cheerleading aspects of the American Spirit
  case, the motions to strike the unrelated allegations on this topic—a topic which the Plaintiffs in
  the other cases have not pursued and the Plaintiffs in Fusion Elite labelled irrelevant when
  discovery requests on the topic were directed to them, see Fusion Elite ECF No. 82-1—provides

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  to do it. They state that they have “dozens” of depositions remaining to be scheduled and that

  their expert will have inadequate time to prepare an expert report. Plaintiffs have not identified

  the witnesses for these “dozens” of additional depositions; to date they have identified about a

  dozen individuals they want to depose, and, to the extent the individuals are employees of

  Defendants, Defendants have offered dates well in advance of the February 18, 2022 close of

  discovery, accepting the dates that Plaintiffs themselves proposed where possible. As noted,

  Plaintiffs did not identify any deponents until August and did not take their first deposition until

  November 16, a date of their own choosing.

         Plaintiffs point to a footnote in the scheduling order that provides that “the deadlines for

  completing depositions and closing fact discovery are contingent on the Parties’ substantially

  completing production of data and documents sufficiently in advance of the February 18, 2022

  deadline for completing depositions and closing fact discovery so that the Parties have sufficient

  time to prepare for and utilize the documents at depositions.” (Fusion Elite ECF No. 61 at 2;

  American Spirit ECF No. 100 at 2; Jones ECF No. 61 at 2.) But the February 18 deadline is still

  almost three months away. Moreover, this provision was not intended to permit one party to

  modify the scheduling order as a result of its own inaction. In any event, Varsity has produced

  all of the documents it expects to produce in accordance with its agreements with the Fusion

  Elite Plaintiffs and will soon likewise complete the production of supplemental materials it

  agreed to produce in the Jones case. The other Defendants likewise expect to complete any




  no basis to modify the scheduling orders across all of the cases. Should the motion to strike be
  denied and the Fusion Elite Plaintiffs be allowed to go forward with these allegations, the
  appropriateness of the discovery sought by the parties against each other would need to be
  assessed separately.

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  agreed-to remaining productions in short order, subject in the case of USASF to resolving a few

  remaining search term issues.

                                            CONCLUSION

         Plaintiffs assured the Court on multiple occasions that they could meet the requirements

  of the scheduling orders imposed by the Court and that the multiple extensions requested by

  Plaintiffs would not interfere with these deadlines. Given the months of delays and inaction on

  the part of Plaintiffs, Plaintiffs have failed to demonstrate that there is good cause to modify the

  scheduling orders. Plaintiffs’ motion should be denied.

   Dated: December 2, 2021                      Respectfully submitted,

                                                /s Matthew S. Mulqueen

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                                     Jones, LLC; Bain Capital, LP; Charlesbank Capital
                                     Partners, LLC; Varsity Brands Holding Co., Inc.;
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